Case No. 1:23-cv-01077-PAB-NRN Document 50 filed 08/28/23 USDC Colorado pg 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-01077-PAB

  ROCKY MOUNTAIN GUN OWNERS,
  TATE MOSGROVE, and
  ADRIAN S. PINEDA

         Plaintiffs,

  v.

  JARED S. POLIS, in his official capacity as Governor of the State of Colorado,

         Defendant.

          GOVERNOR’S ANSWER TO FIRST AMENDED COMPLAINT [DOC. 9]

         Defendant Jared S. Polis, in his official capacity as Governor of the State of Colorado,

  answers the allegations in the Complaint as follows:

                                          INTRODUCTION

         1.      Admit the first sentence of paragraph 1. Deny that SB23-169 was signed by the

  Governor on April 27, 2023, or will become effective on August 4, 2023, and affirmatively state

  that the act was signed on April 28, 2023, and has an August 7, 2023 effective date. Deny the

  third sentence and affirmatively state that the act speaks for itself. Deny the fourth sentence.

                                               PARTIES

         2.      The Governor is without sufficient knowledge to admit or deny the allegations in

  paragraph 2 and so denies them.

         3.      The Governor is without sufficient knowledge to admit or deny the allegations in

  paragraph 3 and so denies them.
Case No. 1:23-cv-01077-PAB-NRN Document 50 filed 08/28/23 USDC Colorado pg 2 of 4




          4.      The Governor is without sufficient knowledge to admit or deny the allegations in

  paragraph 4 and so denies them.

          5.      Admit.

          6.      Deny that the Governor has direct authority to enforce SB23-169. Affirmatively

  state that the Governor has waived his Eleventh Amendment immunity, for this case only and

  only for prospective equitable relief, to allow this matter to proceed against him.

                                    JURISDICTION AND VENUE

          7.      Admit that, if Plaintiffs have standing and the case is ripe (neither of which

  Governor concedes at this stage), the cited provisions of law confer subject matter jurisdiction on

  the Court.

          8.      Admit that the cited provisions of law authorize Plaintiffs to request declaratory

  relief and attorney fees. Deny that Plaintiffs are entitled to such relief.

          9.      Admit.

                                     GENERAL ALLEGATIONS

          10.     Admit that paragraph 10 quotes part of the Second Amendment.

          11.     Admit that McDonald v. City of Chicago makes the Second Amendment

  applicable to the states through the Fourteenth Amendment.

          12.     Admit that paragraph 12 accurately quotes part of SB23-169.

          13.     Admit that paragraph 13 accurately quotes from New York State Rifle & Pistol

  Association, Inc. v. Bruen.

          14.     The Governor is without sufficient knowledge to admit or deny the allegations in

  the first or third sentences of paragraph 14 and so denies them. The fourth sentence accurately


                                                     2
Case No. 1:23-cv-01077-PAB-NRN Document 50 filed 08/28/23 USDC Colorado pg 3 of 4




  quotes from New York State Rifle & Pistol Association, Inc. v. Bruen. Deny the remaining

  allegations in paragraph 14.

          15.     Deny.

          16.     The Governor admits that the first and third sentences of paragraph 16 accurately

  describe the decision in Fraser v. BATFE. Deny the remaining allegations in paragraph 16.

          17.     Deny.

                                     FIRST CLAIM FOR RELIEF

          18.     The Governor incorporates his prior responses.

          19.     Deny.

          20.     Deny.

          21.     Deny.

          22.     Deny.

                                          GENERAL DENIAL

          The Governor denies any allegations not specifically admitted above. The Governor

  denies that Plaintiffs are entitled to any of the relief requested.

                                     AFFIRMATIVE DEFENSES

          (1) Plaintiffs lack standing.

          (2) This case is not ripe for determination.

          (3) The Complaint fails to state a claim for which relief can be granted.

          (4) Plaintiffs cannot satisfy the factors for a preliminary or permanent injunction.




                                                     3
Case No. 1:23-cv-01077-PAB-NRN Document 50 filed 08/28/23 USDC Colorado pg 4 of 4




         (5) The Governor enjoys sovereign immunity against Plaintiffs’ claims, except that he

            has waived his sovereign immunity, only in this case, only in his official capacity,

            and only for prospective equitable relief.

         (6) The Governor reserves the right to raise additional affirmative defenses.


  Dated: August 28, 2023               PHILIP J. WEISER
                                       Attorney General

                                       /s/ Matthew J. Worthington
                                       Grant Sullivan, Assistant Solicitor General
                                       Michael T. Kotlarczyk, Senior Assistant Attorney General
                                       Matthew J. Worthington, Assistant Attorney General
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                                     Attorney for Defendant Jared Polis, in his official capacity as
                                       Governor of the State of Colorado
                                     *Counsel of Record



                                  CERTIFICATE OF SERVICE

           I hereby certify that on August 28, 2023, I served a true and complete copy of the
  foregoing GOVERNOR’S ANSWER TO FIRST AMENDED COMPLAINT [DOC. 9], upon
  all parties herein by e-filing with the CM/ECF system maintained by the court and/or email,
  addressed as follows:

  Barry K. Arrington
  Arrington Law Firm
  4195 Wadsworth Blvd
  Wheat Ridge, CO 80033
  barry@arringtonpc.com



                                                         /s/ Carmen Van Pelt


                                                  4
